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Charles M. Lizza
William C. Baton
David L. Moses
SAUL EWING ARNSTEIN & LEHR LLP
1037 Raymond Boulevard, Suite 1520
Newark, NJ 07102
(973) 286-6700
clizza@saul.com
wbaton@saul.com

Attorneys for Plaintiffs
Indivior Inc., Indivior UK Limited,
and Aquestive Therapeutics, Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


INDIVIOR INC., INDIVIOR UK LIMITED,
and AQUESTIVE THERAPEUTICS, INC.,

                   Plaintiffs,                            Civil Action No. ___________
       v.
                                                         (Filed Electronically)
ALVOGEN PINE BROOK LLC,

                  Defendant.


                         COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Indivior Inc. (formerly known as Reckitt Benckiser Pharmaceuticals Inc.)

(“Indivior”), Indivior UK Limited (formerly known as RB Pharmaceuticals Limited) (“Indivior

UK”), and Aquestive Therapeutics, Inc. (formerly known as MonoSol Rx LLC) (“Aquestive”)

(collectively, “Plaintiffs”) file this Complaint against Defendant Alvogen Pine Brook LLC

(“Alvogen” or “Defendant”) and allege as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Food and Drug Laws

and Patent Laws of the United States, Titles 21 and 35 of the United States Code, respectively,



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arising from Alvogen’s submission of an Abbreviated New Drug Application (“ANDA”) to the

Food and Drug Administration (“FDA”) seeking approval to manufacture, use, and sell a generic

version of Plaintiffs’ Suboxone® sublingual film prior to the expiration of United States Patent

No. 9,931,305 (“the ’305 patent” or “the patent-in-suit”).

                                               THE PARTIES

        2.      Plaintiff Indivior is a Delaware corporation having a principal place of business at

10710 Midlothian Turnpike, Suite 430, North Chesterfield, VA 23235.

        3.      Plaintiff Indivior UK is a United Kingdom corporation having a principal place of

business at 103-105 Bath Road, Slough, UK.

        4.      Plaintiff Aquestive Therapeutics, Inc. is a Delaware corporation having a

principal place of business at 30 Technology Drive, Warren, New Jersey 07059.

        5.      On information and belief, Alvogen is a Delaware corporation having a principal

place of business at 10 Bloomfield Avenue, Building B, Pine Brook, New Jersey 07058.

                                      JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1338(a), 2201, and 2202.

        7.      On information and belief, Alvogen is in the business of, inter alia, developing,

manufacturing, obtaining regulatory approval, marketing, selling, and distributing generic copies

of branded pharmaceutical products in New Jersey and throughout the United States.

        8.      This Court has personal jurisdiction over Alvogen because of, inter alia,

Alvogen’s principal place of business in New Jersey, Alvogen’s continuous and systematic

contacts with corporate entities within this Judicial District, and Alvogen’s marketing and sales

activities in this Judicial District, including, but not limited to, the substantial, continuous, and




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systematic distribution, marketing, and/or sales of generic pharmaceutical products to residents

of this Judicial District.

        9.      Aquestive has legitimate and significant reasons for bringing this action in this

District. For example, Aquestive’s principal place of business is in this District. Aquestive’s

primary witnesses are in, or are regularly in, this District, as is the bulk of Aquestive’s evidence

and records currently in its possession, custody, or control. Defendant’s course of conduct is

designed to cause the performance of the tortious act of patent infringement that has led to

foreseeable harm and injury to Aquestive, which is a New Jersey corporation. Further, Defendant

would not suffer hardship, undue or otherwise, by being summoned to this District.

        10.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

                                         THE PATENT-IN-SUIT

        11.      Plaintiff Aquestive Therapeutics, Inc. (formerly known as MonoSol Rx LLC) is

the lawful owner of the ’305 patent, and Plaintiff Indivior is an exclusive licensee of the ’305

patent and holds the exclusionary rights to market and sell Suboxone® sublingual film in the

United States. The ’305 patent, entitled, “Uniform Films for Rapid-Dissolve Dosage Form

Incorporating Taste-Masking Compositions,” was duly and legally issued on April 3, 2018,

naming Robert Yang, Richard C. Fuisz, Garry L. Myers, and Joseph M. Fuisz as inventors. A

true copy of the ’305 patent is attached hereto as Exhibit A.

                                 SUBOXONE ® SUBLINGUAL FILM

        12.     Plaintiff Indivior is the holder of New Drug Application (“NDA”) No. 22-410 for

Suboxone® (buprenorphine hydrochloride and naloxone hydrochloride) sublingual film.

        13.     On August 30, 2010, the FDA approved NDA No. 22-410 for the manufacture,

marketing, and sale of Suboxone® sublingual film for the treatment of opioid dependence.

Plaintiff Indivior has sold Suboxone® sublingual film under NDA No. 22-410 since its approval.


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       14.     The ’305 patent has been submitted to be listed in the FDA’s Approved Drug

Products with Therapeutic Equivalence Evaluations (the “Orange Book”) as covering

Suboxone® sublingual film.

                       DEFENDANT’S INFRINGING GENERIC PRODUCT

       15.     Defendant submitted ANDA No. 205954 to FDA under 21 U.S.C. § 355(b)(2),

seeking approval to engage in commercial manufacture, use, and/or sale of Defendant’s generic

product before expiration of the patent-in-suit.

       16.     ANDA No. 205954 refers to and relies on Plaintiffs’ NDA for Suboxone®

sublingual film and purports to contain data showing bioequivalence of Defendant’s generic

product with Suboxone® sublingual film.

                 THE PENDING ANDA LITIGATION BETWEEN THE PARTIES

       17.     Plaintiffs Indivior and Indivior UK and Defendant are involved in ongoing

litigation in this District, Civil Action No. 17-7106.

       18.     Civil Action No. 17-7106 relates to Defendant Alvogen’s submission of ANDA

No. 205954 to FDA seeking approval to engage in commercial manufacture, use, and/or sale of

Plaintiffs’ NDA for Suboxone® sublingual film.

       19.     The patents at issue in Civil Action No. 17-7106 include U.S. Patent. Nos.

9,687,454 (“the ’454 patent”) and 9,855,221 (“the ’221 patent”).

                                              COUNT 1
                     Infringement of the ’305 Patent Under 35 U.S.C. § 271(e)(2)

       20.             On information and belief, Alvogen’s generic product is covered by one or

more claims, including at least claim 26, of the ’305 patent.

       21.             By filing ANDA No. 205954 under 21 U.S.C. § 355(j) for the purposes of

obtaining approval to engage in the commercial manufacture, use, and/or sale of Alvogen’s



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generic product prior to the expiration of the ’305 patent, Alvogen has committed an act of

infringement of the ’305 patent under 35 U.S.C. § 271(e)(2).

       22.             Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4),

including, inter alia, an order of this Court that the FDA set the effective date of approval for

ANDA No. 205954 to be a date which is not any earlier than the expiration date of the ’305

patent, including any extensions of that date.

                                             COUNT 2
            Declaratory Judgment of Infringement of the ’305 Patent Under 35 U.S.C. § 271

       23.      On information and belief, unless enjoined by this Court, Defendant plans and

intends to engage in the manufacture, use, offer for sale, sale, marketing, distribution, and/or

importation of Defendant’s generic product immediately following approval of ANDA No.

205954.

       24.      On information and belief, Defendant’s manufacture, use, offer to sell, or sale

within the United States, or importation into the United States of Defendant’s generic product

before the expiration of the ’305 patent would infringe one or more claims, including at least

claim 26, of the ’305 patent under 35 U.S.C. § 271.

       25.      The acts of infringement by Defendant set forth above will cause Plaintiffs

irreparable harm for which they have no adequate remedy at law, and those acts will continue

unless enjoined by this Court.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter:

       A.       A Judgment that Alvogen has infringed the ’305 patent under 35 U.S.C. §

271(e)(2) by submitting and maintaining ANDA No. 205954;

       B.       A Declaratory Judgment that Defendant’s manufacture, use, offer to sell, or sale



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within the United States, or importation into the United States of Alvogen’s generic product

would infringe the ’305 patent under 35 U.S.C. § 271;

       C.      Preliminary and permanent injunctions, restraining and enjoining Alvogen, its

officers, agents, attorneys, affiliates, divisions, successors and employees, and those acting in

privity or concert with them, from engaging in, causing, or inducing the commercial

manufacture, use, offer to sell, or sale within the United States, or importation into the United

States, of drugs and formulations, or from inducing and/or encouraging the use of methods,

claimed in the patent-in-suit;

       D.      An Order that the effective date of any approval of ANDA No. 205954 be a date

that is not earlier than the expiration of the patent-in-suit, including any extensions thereof and

any later expiration of exclusivity associated with the ’305 patent;

       E.      A Judgment and Order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiffs their reasonable attorneys’ fees;

       F.      A Judgment granting Plaintiffs compensatory damages in an amount to be

determined at trial including both pre-judgment and post-judgment interest if Alvogen

commercially manufactures, uses, offers to sell, or sells in the United States, or imports into the

United States, Alvogen’s generic product before the expiration of the patent-in-suit, including

any extensions; and

       G.      Any and all other relief as the Court deems just and proper.




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Dated: April 3, 2018                  Respectfully submitted,

Daniel A. Ladow                       By: s/ William C. Baton
James M. Bollinger                        Charles M. Lizza
Timothy P. Heaton                         William C. Baton
J. Magnus Essunger                        David L. Moses
Sujatha Vathyam                           SAUL EWING ARNSTEIN & LEHR LLP
TROUTMAN SANDERS LLP                      1037 Raymond Boulevard, Suite 1520
875 Third Avenue                          Newark, NJ 07102
New York, New York 10022                  (973) 286-6700
(212) 704-6000                            clizza@saul.com
daniel.ladow@troutman.com                 wbaton@saul.com
james.bollinger@troutman.com              dmoses@saul.com
timothy.heaton@troutman.com
magnus.essunger@troutman.com              Attorneys for Plaintiffs
suja.vathyam@troutman.com                 Indivior Inc., Indivior UK Limited,
                                          and Aquestive Therapeutics, Inc.
Charanjit Brahma
TROUTMAN SANDERS LLP                      Cassandra A. Adams
580 California Street                     STEPTOE & JOHNSON LLP
Suite 1100                                1114 Avenue of the Americas
San Francisco, CA 94104                   New York, New York 10036
(415) 477-5700                            (212) 506-3900
charanjit.brahma@troutman.com             cadams@steptoe.com

Attorneys for Plaintiffs                  James F. Hibey
Indivior Inc. & Indivior UK Limited       STEPTOE & JOHNSON LLP
                                          1330 Connecticut Avenue, NW
Erica N. Andersen                         Washington, DC 20036
Jeffrey B. Elikan                         (212) 429-3000
Jeffrey H. Lerner                         jhibey@steptoe.com
Ashley M. Kwon
COVINGTON & BURLING LLP                   Jamie Lucia
One CityCenter                            STEPTOE & JOHNSON LLP
850 Tenth Street, NW                      1 Market Street
Washington, D.C. 20001                    Steuart Tower, Suite 1800
(202) 662-6000                            San Francisco, CA 94105
eandersen@cov.com                         (415) 365-6711
jelikan@cov.com                           jlucia@steptoe.com
jlerner@cov.com
akwon@cov.com                             Attorneys for Plaintiff
                                          Aquestive Therapeutics, Inc.
Attorneys for Plaintiffs
Indivior Inc. & Indivior UK Limited




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          CERTIFICATION PURSUANT TO LOCAL CIVIL RULES 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matters captioned,

Indivior Inc., et al. v. Alvogen Pine Brook, Inc., Civil Action No. 17-7106 (KM)(CLW), Indivior

Inc., et al. v. Dr. Reddy’s Laboratories S.A., et al., Civil Action No. 17-7111 (KM)(CLW),

Indivior Inc., et al. v. Teva Pharmaceuticals USA, Inc., Civil Action No. 17-7115 (KM)(CLW),

Indivior Inc., et al. v. Par Pharmaceuticals, Inc., et al., Civil Action No. 17-7997 (KM)(CLW),

Indivior Inc., et al. v. Dr. Reddy’s Laboratories S.A., et al., Civil Action No. 18-1775

(KM)(CLW), Indivior Inc., et al. v. Teva Pharmaceuticals USA, Inc., Civil Action No. 18-1777

(KM)(CLW), Indivior Inc., et al. v. Par Pharmaceuticals, Inc., et al., Civil Action No. 18-1780

(KM)(CLW), Indivior Inc. v. Actavis Laboratories UT, Inc., Civil Action No. 2:17-cv-01034 (D.

Utah), Indivior Inc. v. Actavis Laboratories UT, Inc., Civil Action No. 2:18-cv-00124 (D. Utah),

and Par Pharmaceutical Inc. v. Indivior Inc., et al., Civil Action No. 1:2017-cv-01280 (E.D.Va.)

are related to the matter in controversy because they involve some of the same Plaintiffs and the

same patents.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, or of any pending arbitration or administrative

proceeding.




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Dated: April 3, 2018                  Respectfully submitted,

Daniel A. Ladow                       By: s/ William C. Baton
James M. Bollinger                        Charles M. Lizza
Timothy P. Heaton                         William C. Baton
J. Magnus Essunger                        David L. Moses
Sujatha Vathyam                           SAUL EWING ARNSTEIN & LEHR LLP
TROUTMAN SANDERS LLP                      1037 Raymond Boulevard, Suite 1520
875 Third Avenue                          Newark, NJ 07102
New York, New York 10022                  (973) 286-6700
(212) 704-6000                            clizza@saul.com
daniel.ladow@troutman.com                 wbaton@saul.com
james.bollinger@troutman.com              dmoses@saul.com
timothy.heaton@troutman.com
magnus.essunger@troutman.com              Attorneys for Plaintiffs
suja.vathyam@troutman.com                 Indivior Inc., Indivior UK Limited,
                                          and Aquestive Therapeutics, Inc.
Charanjit Brahma
TROUTMAN SANDERS LLP                      Cassandra A. Adams
580 California Street                     STEPTOE & JOHNSON LLP
Suite 1100                                1114 Avenue of the Americas
San Francisco, CA 94104                   New York, New York 10036
(415) 477-5700                            (212) 506-3900
charanjit.brahma@troutman.com             cadams@steptoe.com

Attorneys for Plaintiffs                  James F. Hibey
Indivior Inc. & Indivior UK Limited       STEPTOE & JOHNSON LLP
                                          1330 Connecticut Avenue, NW
Erica N. Andersen                         Washington, DC 20036
Jeffrey B. Elikan                         (212) 429-3000
Jeffrey H. Lerner                         jhibey@steptoe.com
Ashley M. Kwon
COVINGTON & BURLING LLP                   Jamie Lucia
One CityCenter                            STEPTOE & JOHNSON LLP
850 Tenth Street, NW                      1 Market Street
Washington, D.C. 20001                    Steuart Tower, Suite 1800
(202) 662-6000                            San Francisco, CA 94105
eandersen@cov.com                         (415) 365-6711
jelikan@cov.com                           jlucia@steptoe.com
jlerner@cov.com
akwon@cov.com                             Attorneys for Plaintiff
                                          Aquestive Therapeutics, Inc.
Attorneys for Plaintiffs
Indivior Inc. & Indivior UK Limited




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                 EXHIBIT A
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